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John D. Cook
Partner

                                                          May 2, 2013

VIA CM/ECF

Hon. David E. Peebles
United States District Court for the
Northern District of New York
100 South Clinton Street
Post Office Box 7367
Syracuse, New York 13261-7367

       Re:     PPC Broadband, Inc. d/b/a PPC v. Corning Gilbert Inc.
               C.A. No. 5:12-cv-00911-GLS-DEP

Dear Judge Peebles:

        We write on behalf of the plaintiff, PPC Broadband, Inc., d/b/a PPC (“PPC”). Pursuant
to Local Rule 7.1(b)(2), we seek a court conference to discuss PPC’s request for leave to present
more than ten patent terms or phrases to the Court for construction. Specifically, PPC seeks
leave to present no more than 18 patent terms or phrases for construction, which includes terms
identified for construction by the defendant, Corning Gilbert Inc. (“Gilbert”). Gilbert does not
oppose this request.

        In this case, PPC asserts infringement by Gilbert of 63 claims set forth in four patents –
U.S. Patent Nos. 8,192,237, 8,287,320, 8,313,353, and 8,323,060. Through the disclosure and
meet and confer process set forth in the Local Patent Rules and the Uniform Pretrial Scheduling
Order, the parties have significantly reduced the number of patent terms or phrases that require
construction from more than 50 to no more than 18. However, those terms or phrases that
remain are integral to determinations of the infringement and validity of the asserted claims, such
that, as a practical matter, the number of terms or phrases that require construction cannot be
reduced any further. Therefore, PPC seeks leave to present addition patent terms or phrases to
the Court for construction.

       Thank you for your attention and consideration of this request.

                                                          Respectfully submitted,



                                                          John D. Cook


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cc:         Counsel of Record
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